                        IN THE UNITED STATES DISTRICT COURT
                       FOR THEMIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

Edward Sutton, Derivatively On Behalf of              )
HCA HOLDINGS, INC.,                                   )
                                                      )   Civil Action No. 3:11-cv-01163
        Plaintiff,                                    )
                                                      )   Judge Kevin H. Sharp
vs.                                                   )
                                                      )   Magistrate Judge Barbara D. Holmes
Richard M. Bracken, et al.,                           )
                                                      )
        Defendants,                                   )
                                                      )
vs.                                                   )
                                                      )
HCA Holdings, Inc.                                    )
                                                      )
        Nominal Defendant.                            )

                     ORDER GRANTING JOINT MOTION
                                     TO DISMISS WITH PREJUDICE

        This cause came to be heard on the Parties’ Joint Motion to Dismiss With Prejudice.

Having read and considered the Parties’ Joint Motion and the exhibits thereto, the Court finds

that on April 13, 2016, after notice of the proposed settlement and release of the claims set forth

in this derivative action and a substantially identical state derivative action, Bagot v. Bracken et

al., Case No. 11C5133, Sixth Circuit Court for Davison County, Tennessee, had been sent to the

shareholders of HCA Holdings, Inc., the court in the related state derivative action approved the

settlement, dismissed the case with prejudice and ordered that the claims asserted against the

defendants were forever and fully released. The Court further finds, and the Parties agree, that

the state court order and judgment fully settled, adjudicated and released the claims in this case.

Finding that dismissal of this case is, therefore, appropriate, the Court hereby dismisses this

action and the claims brought in it with prejudice.



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  IT IS SO ORDERED.



                          ________________________________________
                          THE HONORABLE KEVIN H. SHARP
                          CHIEF UNITED STATES DISTRICT JUDGE




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